                  CASE 0:21-cr-00057-PAM-ECW Doc. 164 Filed 12/17/21 Page 1 of 1

                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MINNESOTA

                                                      )       COURT MINUTES - CRIMINAL
United States of America,                             )          BEFORE: JOHN F. DOCHERTY
                                                      )            U.S. MAGISTRATE JUDGE
                          Plaintiff,                  )
v.                                                    )    Case No:           21-cr-57 PAM/HB
                                                      )    Date:              December 17, 2021
Omar Ali Osman(8),                                    )    Video Conference
                                                      )    Court Reporter:    Renee Rogge
                          Defendant.                  )    Time Commenced:    10:05 a.m.
                                                      )    Time Concluded:    10:58 a.m.
                                                      )    Time in Court:     53 minutes
                                                      )
                                                      )


X    BOND REVOCATION HRG                              X   DETENTION HRG

                 Time in Court Bond Rev/Det: 40 minutes/13 minutes
APPEARANCES:
      Plaintiff: Angela Munoz, Assistant U.S. Attorney
      Defendant: Kevin DeVore
                         X Retained

On Violation of X Pre-trial Release

X    Deft Ordered Detained - Govt to submit proposed order


X    Probable cause found. Deft bound over to District Court of Minnesota.


Additional Information:
X Defendant consents to this hearing via video conference.

Government’s exhibit 1 received.
Krystal Taylor testified.
Sherehan Hasson testified.




                                                                         s/JAM ____________________
                                                                          Signature of Courtroom Deputy
